Case 1:13-Cr-00031-ESH Document 46 Filed 09/20/13 Page 1 of 1

UN`ITED STATES DISTRICT coURT
FoR THE DISTRICT oF coLUMBIA §§ L § D

SEP 23 2913

Cierk, U.S. Dastncz & bankruptcy
Courts for the Dlstrict of Columb|a

 

://M//SWM_ZZ/V-/
vs

wv, WZW%@%M

v

Civi]:/Criminail/No<` /§_7” [)3/ 456

NOTE FROM JURY

;%k %/l/z /.W .MM~

 

 

 

 

 

 

 

 

 

 

 

 

Date: ?/>ZV 5

'FOREPERSON '
Time: // /f /§1777

 

CO~109A

